Case 2:21-cv-05400-GRB-LGD Document 19-1 Filed 08/03/22 Page 1 of 1 PageID #: 113



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                                                         July 28, 2022

  VIA ECF

  Hon. Lee G Dunst, USMJ
  United States District Court Eastern District of New York
  100 Federal Plaza, Courtroom 830
  Central Islip, NY 11722

         Re:     Barahona et. al. v. Paradise Tree Service & Landscape, Corp. et. al.,
                 Case No. 21-cv-05400 (GRB)(AYS)

  Dear Judge Dunst:

          I represent the Plaintiffs. I write with the consent of the Defenants for clarification of the
  Court’s order dated July 19, 2022. The Court directed the parties to select a mediator by August
  31, 2022. However, if the parties wait until that date to select the mediator it is unlikely that we
  will be able to schedule the mediation by September 30, 2022, as directed in the order. The
  Parties therefore asks for clarification as to whether the Court intended the mediator selection
  date to be July 31, 2022. In the event that the date for selection of the mediator is August 31,
  2022, the parties respectfully request an extension of the date to complete mediation to October
  31, 2022.

                                                         Very truly yours,

                                                         Steven J. Moser
                                                         Steven J. Moser

  CC:    All counsel of record via ECF




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